Case 18-13218 Doc 43 Filed 02/20/19 Entered 02/20/19 15:48:28 Main Document Page 1 of 1



                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF LOUISIANA

   ORDER
   BROWN, J.
   FEBRUARY 20, 2019

   IN RE
                                                                        BANKRUPTCY NO.
   BRIAN JOSEPH DOMINGUE                                                18-13218
                                                                        SECTION "B"
   DEBTOR(S)                                                            CHAPTER 7


                 This matter was to come before the Court on February 20, 2019 as a hearing

   on the motion of Nationstar Mortgage, LLC d/b/a Mr. Cooper for relief from the stay (P-18)

   and on the objection filed by the Trustee (P-23).

                 At the request of counsel, the hearing is continued to WEDNESDAY,

   MARCH 20, 2019 AT 9:00 A.M., said date and time being agreeable to counsel.

                 IT IS FURTHER ORDERED that the stay remain in full force and effect

   until further order of the Court.

                 New Orleans, Louisiana, February 20, 2019.


                                                          JERRY A. BROWN
                                                          BANKRUPTCY JUDGE
